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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                            CASE NO. 19-63111-CIV-CANNON/Hunt

  EDWARD-MARCUS GRIFFIN,

         Plaintiff,
  v.

  ACCOUNT RESOLUTION SERVICES,
  a Florida Corporation,

         Defendant.
                                                                      /

                                     SCHEDULING ORDER

         THIS MATTER is set for trial during the Court’s two-week trial calendar beginning on

  July 19, 2021 at 9:00 a.m. Counsel for all parties shall appear at a calendar call at 1:45 p.m. on

  Tuesday, July 13, 2021. A pretrial conference will be held on June 28, 2021. Unless instructed

  otherwise by subsequent order, the trial and all other proceedings in this case shall be conducted

  at the Alto Lee Adams, Sr. United States Courthouse, 101 South U.S. Highway 1, Courtroom 4008,

  Fort Pierce, Florida 34950. The parties shall adhere to the following schedule:

         January 18, 2021. The parties shall file all motions to amend pleadings or to join parties.

         February 1, 2021. The parties shall select a mediator pursuant to Local Rule 16.2, shall
         schedule a time, date and place for mediation, and shall jointly file a proposed order
         scheduling mediation in the form specified on the Court’s website,
         http://www.flsd.uscourts.gov. If the parties cannot agree on a mediator, they shall notify
         the Clerk in writing as soon as possible, and the Clerk shall designate a certified mediator
         on a blind rotation basis. Counsel for all parties shall familiarize themselves with and
         adhere to all provisions of Local Rule 16.2. Within five (5) days of mediation, the parties
         are required to file a mediation report with the Court. Pursuant to the procedures outlined
         in the CM/ECF Administrative Procedures, the proposed order is to be emailed to
         cannon@flsd.uscourts.gov in Word format.

         March 12, 2021. The parties shall exchange expert witness summaries or reports.

         March 26, 2021. The parties shall exchange rebuttal expert witness summaries or reports.
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         April 9, 2021. All discovery shall be completed, including expert discovery.

         April 23, 2021. The parties must have completed mediation and filed a mediation report.
         The mediation report shall indicate whether the case settled (in full or in part), whether it
         was adjourned, or whether the mediator declared an impasse. If mediation is not
         conducted, the case may be stricken from the trial calendar, and other sanctions may be
         imposed.

         May 3, 2021. The parties shall file all pre-trial motions, including motions for summary
         judgment, and Daubert motions. Each party is limited to filing one Daubert motion. If
         a party cannot address all evidentiary issues in a 20-page memorandum, it must petition
         the Court for leave to include additional pages. The parties are reminded that Daubert
         motions must contain the Local Rule 7.1(a)(3) certification. The parties are directed to
         review the Court’s procedure for the filing of summary judgment motions (set out
         below).

         June 4, 2021. The parties shall submit a joint pre-trial stipulation, exhibit lists, witness
         lists, deposition designations, and proposed jury instructions and verdict form or proposed
         findings of fact and conclusions of law, as applicable, and shall file any motions in limine
         (other than Daubert motions). Each party is limited to filing one motion in limine, which
         may not, without leave of Court, exceed the page limits allowed by the Rules. The parties
         are reminded that motions in limine must contain the Local Rule 7.1(a)(3)
         certification. Each issue raised in a motion in limine must be numbered and must
         specifically identify the evidence sought to be excluded or included at trial, with citations
         to legal authority supporting the evidentiary ruling requested.

         Jury Instructions and Verdict Form. Although they need not agree on each proposed

  instruction, the parties shall submit their proposed jury instructions and verdict form jointly.

  Where the parties do not agree on a proposed instruction, that instruction shall be set forth in bold

  type. Instructions proposed only by a plaintiff shall be underlined. Instructions proposed only by

  a defendant shall be italicized. Every instruction must be supported by citation to authority. The

  parties shall use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil Cases, including

  the directions to counsel contained therein. The parties shall submit, in Word format via e-mail to

  cannon@flsd.uscourts.gov, proposed jury instructions and verdict form, including substantive

  charges and defenses, prior to the calendar call. For instructions on filing proposed documents,

  please see http://www.flsd.uscourts.gov.
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         Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636 and this District’s Magistrate

  Judge Rules, all pretrial non-dispositive and discovery matters are hereby referred to United States

  Magistrate Judge Patrick M. Hunt at this time to take all necessary and proper action as required

  by law. Excluded from this referral are any requests to extend the deadlines set forth in this Order.

  Furthermore, in accordance with 28 U.S.C. § 636(c)(1), the parties may consent to trial and final

  disposition by Magistrate Judge Patrick M. Hunt. The deadline for submitting a consent is May

  3, 2021. Any such consent must be joint among all parties.

         Good Faith Conferral. For the purposes of compliance with the good faith conferral

  requirement of Local Rule 7.1(a)(3), the parties are instructed that a minimal e-mail exchange with

  opposing counsel shall not constitute a good faith effort under the Local Rules. The parties are

  instructed to confer either telephonically or in person.

         Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

  documents, and answer requests for admissions. The parties shall not file with the Court notices

  or motions memorializing any such stipulation unless the stipulation interferes with the deadlines

  set forth above. Stipulations that would so interfere may be entered into only with the Court’s

  approval. See Fed. R. Civ. P. 29. In addition to the documents enumerated in Local Rule 26.1(b),

  the parties shall not file notices of deposition with the Court. Strict compliance with the Local

  Rules is expected, particularly with respect to motions practice. See S.D. Fla. L.R. 7.1.

         Discovery Disputes.       The parties shall not file any written discovery motions,

  including motions to compel, for protective order, or for sanctions, without the consent of

  the Magistrate Judge. Counsel must actually confer and engage in reasonable compromise in a

  genuine effort to resolve their discovery disputes before seeking the Court’s intervention. The

  Court may impose sanctions, monetary or otherwise, if it determines that a party has improperly

  sought or withheld discoverable material in bad faith. If, after conferring, the parties are unable to
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  resolve their discovery dispute without Court intervention, they shall not file written motions.

  Rather, the “moving party” shall follow Magistrate Judge Patrick M. Hunt’s standard discovery

  procedures. Should the parties have any questions regarding the resolution of discovery issues,

  counsel should contact the chambers of Magistrate Judge Hunt at (954) 769-5470.

         Summary Judgment. In addition to filing a Statement of Material Facts as required under

  Local Rule 56.1(a)-(b), the parties also shall file a Joint Statement of Undisputed Facts, which

  must include all relevant facts about which there is no material dispute. Each undisputed fact

  shall be numbered individually and separated by paragraph. It is imperative that each fact

  in a Statement of Material Facts (or in a response, reply, or joint statement) be accompanied

  by a particularized pinpoint citation to material in the record pursuant to Local Rule 56.1(b).

  If the supporting material is not in the record, the materials shall be attached to the statement as

  exhibits specifically titled within the CM/ECF system, and reference to a previously filed exhibit

  shall use the “ECF No.” format. All statements of material fact are limited to 10 pages, see Local

  Rule 56.1(b)(1)(A), and any requests for leave to include additional pages must be submitted to

  the Court for prior approval. The parties are reminded to consult Local Rule 56.1 to ensure

  compliance with the form and content of Statements of Material Fact.

         Trial Exhibits. All trial exhibits must be pre-marked. The Plaintiff’s exhibits must be

  marked numerically with the letter “P” as a prefix; the Defendant’s exhibits must be marked

  numerically with the letter “D” as a prefix. The parties must submit a list setting out all exhibits

  by the date of the calendar call. This list must indicate the pre-marked identification label (e.g.,

  P-1 or D-1) and include a brief description of the exhibit.

         Voir Dire Questions. The Court will require each prospective juror to complete a brief

  written questionnaire prior to the commencement of questioning in the courtroom. Any party may

  submit up to five proposed, case-specific questions to be included in the questionnaire. The
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  proposed questions must be filed with the Court at the time of the filing of the joint pretrial

  stipulation and must also be submitted to the Court, in Word format, via e-mail to

  cannon@flsd.uscourts.gov. The Court will begin voir dire by questioning the venire individually

  and as a whole and will permit limited attorney-directed voir dire thereafter. The Court will not

  permit the backstriking of jurors.

          Settlement Notification. If this matter is settled, counsel shall inform the Court promptly

  via telephone (772-467-2340) and/or e-mail (cannon@flsd.uscourts.gov).

          Duty to Comply. Failure to comply with this or any order of this Court, the Local Rules,

  or any other applicable rule may result in sanctions, including dismissal without prejudice or the

  entry of a default, without further notice. It is the duty of all counsel and pro se litigants to enforce

  the timetable set forth in this Order to ensure an expedition resolution of this cause.

          DONE AND ORDERED in Fort Pierce, Florida, this 23rd day of December 2020.




                                                          _________________________________
                                                          AILEEN M. CANNON
                                                          UNITED STATES DISTRICT JUDGE
  cc:     counsel of record
